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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                          1/12/21



  United States of America,

             –v–
                                                                   15-cr-95 (AJN)
       Abdullah Yoda,
                                                                       ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:
       A change of plea and sentencing proceeding in this matter is presently scheduled for

January 13, 2021 at 2 p.m.           Dkt. No. 3144.   The proceeding will be conducted by

videoconference using the Skype for Business platform. The Court will separately provide the

parties with instructions for accessing this platform. At 2 p.m. on January 13, 2021, members of

the public may access audio for the proceeding by calling (917) 933-2166 and entering

Conference ID number 878219731.


 SO ORDERED.

 Dated: January 12, 2021
        New York, New York
                                                 ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
